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Steven J. Luckner, Esq.
OGLETREE, DEAKINS, NASH,
SMOAK & STEWART, P.C.
10 Madison Avenue, Suite 400
Morristown, New Jersey 07960
Telephone: (973) 656-1600
Facsimile: (973) 656-1611
Attorneys for Defendant U.S. Silica Company

                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
---------------------------------------------------------
PHILIP BENNETT,                                           : Hon. ______________________
                                                          : Civ. Action No.: _____________
                                 Plaintiff,               :
                                                          :
v.                                                        :
                                                          : NOTICE OF REMOVAL & LOCAL
U.S. SILICA COMPANY; and JOHN DOES                        : CIVIL RULE 11.2 CERTIFICATION
1-5 and 6-10,                                             :
                                                          :
                                Defendants.               :
--------------------------------------------------------- :


TO:    CHIEF JUDGE AND JUDGES OF
       THE UNITED STATES DISTRICT COURT
       FOR THE DISTRICT OF NEW JERSEY

ON NOTICE TO:

       Drake P. Bearden, Jr., Esq.
       Costello & Mains, LLC
       18000 Horizon Way, Suite 800
       Mount Laurel, NJ 08054
       Attorneys for Plaintiff

       Michelle M. Smith, Esq., Clerk
       The Superior Court of New Jersey
       Richard Hughes Justice Complex
       6th Floor North Wing
       Trenton, New Jersey 08625

       Clerk, Superior Court of New Jersey
       Law Division – Cumberland County
       60 W. Broad Street
       Bridgeton, New Jersey 08302

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HONORABLE JUDGES:

       Defendant U.S. Silica Company (“Defendant”), by and through its counsel, Ogletree,

Deakins, Nash, Smoak & Stewart, P.C., hereby notices the removal of this action, pursuant to 28

U.S.C. §§ 1332, 1441, and 1446, to the United States District Court for the District of New

Jersey, and as grounds therefore show as follows:

       I.      TIMELINESS OF REMOVAL

       1.      On or about April 14, 2021, Plaintiff Philip Bennett (“Plaintiff”) commenced a

civil action against Defendant in the Superior Court of New Jersey, Cumberland County, entitled

Philip Bennett vs. U.S. Silica Company et al., Docket No. CUM-L-000255-21.

       2.      Plaintiff served the Summons and Complaint on April 28, 2021 at Defendant’s

place of business. A copy of the Summons, Complaint, Civil Case Information Statement, and

Track Assignment Notice, are attached hereto as Exhibit A.

       3.      This is the only process, pleading, or order known by Defendant to have been

served in this action.

       4.      Pursuant to 28 U.S.C. § 1446(b), a Notice of Removal must be filed within 30

days after the receipt by defendant, through service or otherwise, of the Complaint.

       5.      Accordingly, pursuant to 28 U.S.C. § 1446(b), this Notice of Removal has been

timely filed within 30 days after receipt by any defendant, through service or otherwise, of the

Complaint.

       II.     VENUE

       6.      The New Jersey Superior Court, Cumberland County, is located within the

District of New Jersey. 28 U.S.C. § 110. Therefore, venue is proper in this Court because it is




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the “district and division embracing the place where such action is pending.” 28 U.S.C. §

1441(a).

       III.    BASIS FOR REMOVAL – DIVERSITY JURISDICTION

       7.      This action is properly removable under 28 U.S.C. § 1332(a), because the United

States District Court has original jurisdiction in this case under 28 U.S.C. § 1332(a), which

provides that “The district courts shall have original jurisdiction in all civil actions where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between (1) citizens of different states….” Here, the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and is between citizens of different states. This

was true at the time of filing of the Complaint and remains true at the time of the filing of this

Notice of Removal.

               A.      AMOUNT IN CONTROVERSY

       8.      This is an action to recover damages for alleged violations of the New Jersey Law

Against Discrimination, N.J.S.A. 10:5-1 et seq. (“NJLAD”) and for alleged retaliation for

pursuing workers’ compensation. According to the Complaint, Plaintiff seeks an award of

compensatory damages, punitive damages, interest, cost of suit, attorneys’ fees, enhanced

attorneys’ fees, equitable back pay, equitable front pay, and equitable reinstatement.          See

Complaint, Wherefore Clause.       Based on the allegations in the Complaint, the amount in

controversy exceeds the sum or value of $75,000, exclusive of interest and costs. See Raspa v.

Home Depot, 533 F. Supp. 2d 514, 522 (D.N.J. 2007); Uddin v. Sears, Roebuck & Co., 2014 WL

316988, *5 (D.N.J. Jan. 27, 2014).




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               B.      DIVERSITY OF CITIZENSHIP

       9.      A corporation shall be deemed to be a citizen of every State and foreign state by

which it has been incorporated and of the State or foreign state where it has its principal place of

business. 28 U.S.C. § 1332(c)(1). A corporation has its principal place of business where its

high level officers direct, control, and coordinate the corporation’s activities, i.e., its “nerve

center,” which will typically be found at its corporate headquarters. Hertz Corp. v. Friend, 559

U.S. 77 (2010).

       10.     According to the Complaint, Plaintiff is a citizen of the State of New Jersey. See

Complaint, Introductory Paragraph.

       11.     U.S. Silica Company is a corporation organized under the laws of the State of

Delaware and having its principal place of business in the State of Texas. Defendant therefore is

a citizen of Delaware and Texas within the meaning of 28 U.S.C. § 1332.

       12.     Accordingly, complete diversity of citizenship exists.

       IV.     CONCLUSION

       13.     Defendant has not previously sought similar relief.

       14.     To date, Defendant has not filed a responsive pleading in Plaintiff’s State court

action, and no other proceedings have transpired in that action.

       15.     Pursuant to 28 U.S.C. § 1446, copies of this Notice of Removal have this day

been served by overnight mail upon Plaintiff’s counsel, and upon the Clerk of the Superior Court

of New Jersey, and the Clerk of the Superior Court in Cumberland County, New Jersey.

       16.     By removing this matter, Defendant does not waive or intend to waive any

defense, including but not limited to insufficiency of process and insufficiency of service of

process.



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       WHEREFORE, Defendant respectfully requests that this Honorable Court take

jurisdiction of this action and issue all necessary orders and process to remove said action from

the Superior Court of New Jersey, County of Cumberland, to the United States District Court for

the District of New Jersey.




                                                    Respectfully Submitted,

                                                    OGLETREE, DEAKINS, NASH,
                                                    SMOAK & STEWART, P.C.
                                                    Attorneys for Defendant


                                            By:     /s/ Steven J. Luckner
                                                    Steven J. Luckner, Esq.
                                                    10 Madison Avenue, Suite 400
                                                    Morristown, New Jersey 07960
                                                    steven.luckner@ogletreedeakins.com

Dated: May 24, 2021




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                 CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       I, Steven J. Luckner, Esq., counsel for Defendant, certify that the matter in controversy is

not the subject of any other action pending in any court, or of any pending arbitration or

administrative proceeding.



                                                     Respectfully Submitted,

                                                     OGLETREE, DEAKINS, NASH,
                                                     SMOAK & STEWART, P.C.
                                                     Attorneys for Defendant


                                             By:     /s/ Steven J. Luckner
                                                     Steven J. Luckner, Esq.
                                                     10 Madison Avenue, Suite 400
                                                     Morristown, New Jersey 07960
                                                     steven.luckner@ogletreedeakins.com

Dated: May 24, 2021




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                    EXHIBIT A
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COSTELLO & MAINS, LLC
By: Drake P. Bearden, Jr.
Attorney I.D. No. 039202009
18000 Horizon Way, Suite 800
Mount Laurel, NJ 08054
(856) 727-9700
Attorneys for Plaintiff


  PHILIP BENNETT,                                  SUPERIOR COURT OF NEW JERSEY
                                                   CUMBERLAND COUNTY - LAW DIV.
                       Plaintiff,
                                                         CIVIL ACTION
  vs.


  U.S. SILICA COMPANY; and JOHN                    DOCKET NO: CUM-L-255-21
  DOES 1-5 AND 6-10.

                       Defendants.                 SUMMONS

From The State of New Jersey to the Defendant Named Above:

        The plaintiff, named above, has filed a lawsuit against you in the Superior Court of New
Jersey. The complaint attached to this summons states the basis for this lawsuit. If you dispute
this complaint, you or your attorney must file a written answer or motion and proof of service
with the deputy clerk of the Superior Court in the county listed above within 35 days from the
date you received this summons, not counting the date you received it. (A directory of the
addresses of each deputy clerk of the Superior Court is available in the Civil Division
Management Office in the county listed above and online at http://www.judiciary.state.nj.tts/pro
se/10153 deptyclerklawref.pdf) If the complaint is one in foreclosure, then you must file your
written answer or motion and proof of service with the Clerk of the Superior Court, Hughes
Justice Complex, P.O. Box 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer,
State of New Jersey and a completed Case Information Statement (available from the deputy
clerk of the Superior Court) must accompany your answer or motion when it is filed. You must
also send a copy of your answer or motion to plaintiffs' attorney whose name and address appear
above, or to plaintiff, if no attorney is named above. A telephone call will not protect your rights;
you must file and serve a written answer or motion (with fee of $175.00 and completed Case
Information Statement) if you want the court to hear your defense.

    If you do not file and serve a written answer or motion within 35 days, the court may enter a
judgment against you for the relief plaintiff demands, plus interest and costs of suit. If judgment
is entered against you, the Sheriff may seize your money, wages or property to pay all or part of
the judgment.
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    If you cannot afford an attorney, you may call the Legal Services office in the county where
you live or the Legal Services of New Jersey Statewide Hotline at 1-888-LSNJ-LAW (1-888-
576-5529). If you do not have an attorney and are not eligible for free legal assistance, you may
obtain a referral to an attorney by calling one of the Lawyer Referral Services. A directory with
contact information for local Legal Services Offices and Lawyer Referral Services is available in
the Civil Division Management Office in the county listed above and online at
http://www.judiciarv.state.nj.us/prose/10153 deptyclerklawref.pdf


                                                            /s/ Michelle M. Smith
                                                            Clerk of the Superior Court
DATED: April 23, 2021

Name of Defendant to be Served:              U.S. Silica Company
Address of Defendant to be Served:           9035 Noble Street
                                             Mauricetown, NJ 08329
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 ATLANTIC COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (609) 345-3444
 Civil Division, Direct Filing           LEGAL SERVICES
 1201 Bacharach Blvd., First Fl.         (609) 348-4200
 Atlantic City, NJ 08401

 BERGEN COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (201) 488-0044
 Civil Division, Room 115                LEGAL SERVICES
 Justice Center, 10 Main St.             (201) 487-2166
 Hackensack, NJ 07601

 BURLINGTON COUNTY:                      LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (609) 261-4862
 Central Processing Office               LEGAL SERVICES
 Attn: Judicial Intake                   (800) 496-4570
 First Fl., Courts Facility
 49 Rancocas Road
 Mt. Holly, NJ 08060

 CAMDEN COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (856) 964-4520
 Civil Processing Office                 LEGAL SERVICES
 Hall of Justice                         (856) 964-2010
 1" Fl., Suite 150
 101 South 5"' Street
 Camden, NJ 08103

 CAPE MAY COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (609) 463-0313
 9 N. Main Street                        LEGAL SERVICES
 Cape May Courthouse, NJ 08210           (609) 465-3001

 CUMBERLAND COUNTY:                      LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (856) 692-6207
 Civil Case Management Office            LEGAL SERVICES
 Broad & Fayette Streets                 (856) 451-0003
 P.O. Box 10
 Bridgeton, NJ 08302

 ESSEX COUNTY:                           LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (973) 622-6204
 Civil Customer Service                  LEGAL SERVICES
 Hall of Records, Room 201               (973) 624-4500
 465 Dr. Martin Luther King Jr. Blvd.
 Newark, NJ 07102

 GLOUCESTER COUNTY:                      LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (856) 848-4589
 Civil Case Management Office            LEGAL SERVICES
 Attn: Intake                            (856) 848-5360
 First Fl. Court House
 Woodbury, NJ 08096

 HUDSON COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (201) 798-2727
 Superior Court, Civil Records Dept.     LEGAL SERVICES
 Brennan Court House — 1n Floor          (201) 792-6363
 583 Newark Avenue
 Jersey City, NJ 07306
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 HUNTERDON COUNTY:                       LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (908) 735-2611
 Civil Division                          LEGAL SERVICES
 65 Park Avenue                          (908) 782-7979
 Flemington, NJ 08822

 MERCER COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (609) 585-6200
 Local Filing Office, Courthouse         LEGAL SERVICES
 175 S. Broad Street, P.O. Box 8068      (609) 695-6249
 Trenton, NJ 08650

 MIDDLESEX COUNTY:                       LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (732) 828-0053
 Middlesex Vicinage                      LEGAL SERVICES
 2nd Floor — Tower                       (732) 866-0020
 56 Paterson Street
 New Brunswick, NJ 08903

 MONMOUTH COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (732) 431-5544
 Court House                             LEGAL SERVICES
 71 Monument Park                        (732) 866-0020
 P.O. Box 1269
 Freehold, NJ 07728

 MORRIS COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (973) 267-5882
 Civil Division                          LEGAL SERVICES
 Washington and Court Streets            (973) 285-6911
 P.O. Box 910
 Morristown, NJ 07963

 OCEAN COUNTY:                           LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (732) 240-3666
 Court House, Room 119                   LEGAL SERVICES
 118 Washington Street                   (732) 341-2727
 Toms River, NJ 08754

 PASSAIC COUNTY:                         LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (973) 278-9223
 Civil Division                          LEGAL SERVICES
 Court House                             (973) 523-2900
 77 Hamilton Street
 Paterson, NJ 07505

 SALEM COUNTY:                           LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (856) 678-8363
 92 Market Street                        LEGAL SERVICES
 P.O. Box 29                             (856) 451-0003
 Salem, NJ 08079

 SOMERSET COUNTY:                        LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (908) 685-2323
 Civil Division                          LEGAL SERVICES
 P.O. Box 3000                           (908) 231-0840
 40 North Bridge Street
 Somerville, NJ 08876

 SUSSEX COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court      (973) 267-5882
 Sussex County Judicial Center           LEGAL SERVICES
 43-47 High Street                       (973) 383-7400
 Newton, NJ 07860
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 UNION COUNTY:                          LAWYER REFERRAL
 Deputy Clerk of the Superior Court     (908) 353-4715
    Fl., Court House                    LEGAL SERVICES
 2 Broad Street                         (908) 354-4340
 Elizabeth, NJ 07207

 WARREN COUNTY:                         LAWYER REFERRAL
 Deputy Clerk of the Superior Court     (973) 267-5882
 Civil Division Office                  LEGAL SERVICES
 Court House                            (973) 475-2010
 413 Second Street
 Belvedere, NJ 07823
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 COSTELLO & MAINS, LLC
 By: Drake P. Bearden, Jr.
 Attorney I.D. No. 039202009
 18000 Horizon Way, Suite 800
 Mount Laurel, NJ 08054
 (856) 727-9700
 Attorneys for Plaintiff


 PHILIP BENNETT,                                   : SUPERIOR COURT OF NEW JERSEY
                                                   : CUMBERLAND COUNTY - LAW DIV.
                         Plaintiff,
                                                               CIVIL ACTION
 vs.


 U.S. SILICA COMPANY: and JOHN DOES : DOCKET NO:
 1-5 AND 6-10,

                         Defendants.                : COMPLAINT AND JURY DEMAND


         Plaintiff, Philip Bennett, residing in residing in Millville, New Jersey, by way of

 Complaint against the Defendants, says:

                                        Preliminary Statement

         This matter is brought under the New Jersey Law Against Discrimination ("LAD")

 alleging disability discrimination and/or discrimination based on perceived disability and

  retaliation in violation of the doctrine set forth in Pierce v. Ortho Pharmaceuticals and Lally v.

  Copy Graphics.

                                        Identification of Parties

         1.      Plaintiff Philip Bennett is, at all relevant times herein, a resident of the State of

  New Jersey and a former employee of the Defendants.

         2.      Defendant U.S. Silica Company is, at all relevant times herein, an entity

  conducting business in the State of New Jersey at 9035 Noble Street, Mauricetown, New Jersey

  and was, the employer of Plaintiff.
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          3.      Defendants John Does 1-5 and 6-10, currently unidentified, are individuals and/or

  entities who, on the basis of their direct acts or on the basis of respondeat superior, are

  answerable to the Plaintiff for the acts set forth herein.

                                          General Allegations

          4.      Plaintiff was employed by the Defendants from in or around February of 2020

  until his unlawful termination in May of 2020.

          5.      Plaintiff was employed as a yard laborer.

          6.      At all times, Plaintiff performed up to or beyond the reasonable expectations of

  his employer.

          7.      Plaintiff worked without incident until he suffered a workplace injury in early

  May of 2020.

          8.      Plaintiff was driving a load operator when it unexpectedly hit a hole. throwing

  Plaintiff from the vehicle.

          9.      Plaintiff immediately reported this accident to the safety coordinator.

          10.     The following day, Plaintiff was experiencing pain in his neck and was sent to an

  urgent care.

          11.     Plaintiff was diagnosed with a sprain of the ligaments in his cervical spine.

          12.     Plaintiff was thereby disabled within the meaning of that term in the LAD.

          13.     As a result of his workplace injury, Plaintiff was out of work for approximately

  one week.

          14.     When Plaintiff returned to work, his pain persisted prompting his return to the

  urgent care.

          15.     Shortly after his appointment with the urgent care, Plaintiff was laid off.
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          16.     Although Plaintiff was laid off along with approximately seven other employees,

  upon information and belief, the other seven employees have been returned to their positions.

          17.     In or around November 10, 2020, Plaintiff saw a job posting for his position.

          18.     Plaintiff called the plant supervisor, Justo Lucena, to inquire about the position.

          19.     Mr. Lucena said that since Plaintiff did not complete his 90 day training period,

 they decided to go in a different direction.

          20.     Mr. Lucena is a member of upper management as that term is defined by the LAD

 and related jurisprudence.

          21.     A determinative and/or motivating factor in Defendants' decision to terminate

  Plaintiff was Plaintiff's disability.

          22.     In addition and/or in the alternative, a determinative and/or motivating factor in

  Plaintiffs termination was the Defendants' perceptions of or regarding Plaintiffs disability

  and/or his continued utility as an employee as a result of his injury.

          23.     Plaintiff was further a member of a protected class pursuant to the doctrine

  established by the Court in Pierce v. Ortho Pharmaceuticals and Lally v. Copy Graphics, as an

  individual who exercised his rights under the New Jersey's Workers' Compensation Law.

          24.     To the extent there is any "mixed-motive," Plaintiff need only show that a

  determinative and/or motivating in the conduct directed towards him was because of his

  membership in one of the protected groups set forth above.

          25.     As a result of the unlawful conduct outlined above, Plaintiff has been forced to

  suffer both economic and non-economic harm.




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                                               COUNT I

                             Disability Discrimination Under the LAD

          26.     Plaintiff hereby repeats and re-alleges paragraphs 1 through 25, as though fully

  set forth herein.

          27.     Plaintiff was subjected to discrimination based on his disability that had an

  adverse on his employment.

          WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

  in the alternative, together with compensatory damages, punitive damages, interest, cost of suit,

  attorneys' fees, enhanced attorneys' fees, equitable back pay, equitable front pay, equitable

  reinstatement and any other relief the Court deems equitable and just.

                                              COUNT II

                              Perception of Disability Under the LAD

          28.     Plaintiff hereby repeats and re-alleges paragraphs 1 through 27, as though fully

  set forth herein.

          29.     For the reasons set forth above, Plaintiff was subjected to an adverse employment

  action based on Defendants' perceptions of or regarding Plaintiff disability and/or Plaintiff's

  continued utility as an employee as a result of his injury in violation of the LAD.

          WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

  in the alternative, together with compensatory damages, punitive damages, interest, cost of suit,

  attorneys' fees, enhanced attorneys' fees, equitable back pay, equitable front pay, equitable

  reinstatement and any other relief the Court deems equitable and just.




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                                              COUNT III

                                        Lally v. Copy Graphics

          30.     Plaintiff hereby repeats and re-alleges paragraphs 1 through 29, as though fully

  set forth herein.

          31.     To the extent that a determinative and/or motivating factor in Plaintiff's discharge

  was the fact that Plaintiff exercised his rights pursuant to the New Jersey Workers'

  Compensation Law, his discharge is actionable under the common law, as a violation of a clear

  mandate of public policy pursuant to Pierce v. Othro Pharmaceuticals, Inc. and Lally v. Copy

  Graphics.

          WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

  in the alternative, together with compensatory damages, punitive damages, interest, cost of suit,

  attorneys' fees, enhanced attorneys' fees, equitable back pay, equitable front pay, equitable

  reinstatement and any other relief the Court deems equitable and just.

                                                COUNT IV

                                     Request for Equitable Relief
          32.     Plaintiff hereby repeats and re-alleges paragraphs 1 through 31 as though fully set

  forth herein.


          33.     Plaintiff requests the following equitable remedies and relief in this matter.


          34.     Plaintiff requests a declaration by this Court that the practices contested herein

  violate New Jersey law as set forth herein.


          35.     Plaintiff requests that this Court order the Defendants to cease and desist all

  conduct inconsistent with the claims made herein going forward, both as to the specific Plaintiff

  and as to all other individuals similarly situated.


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         36.     To the extent that Plaintiff was separated from employment and to the extent that

  the separation is contested herein, Plaintiff requests equitable reinstatement, with equitable back

  pay and front pay.


         37.     Plaintiff requests, that in the event that equitable reinstatement and/or equitable

  back pay and equitable front pay is ordered to the Plaintiff, that all lost wages, benefits, fringe

  benefits and other remuneration is also equitably restored to the Plaintiff.


         38.     Plaintiff requests that the Court equitably order the Defendants to pay costs and

  attorneys' fees along with statutory and required enhancements to said attorneys' fees.


         39.     Plaintiff requests that the Court order the Defendants to alter their files so as to

  expunge any reference to which the Court finds violates the statutes implicated herein.


          40.     Plaintiff requests that the Court do such other equity as is reasonable, appropriate

  and just.


          WHEREFORE, Plaintiff demands judgment against the Defendants jointly, severally and

  in the alternative, together with compensatory damages, punitive damages, interest, cost of suit,

  attorneys' fees, enhanced attorneys' fees, equitable back pay, equitable front pay, equitable

  reinstatement, and any other relief the Court deems equitable and just.

                                                 COSTELLO & MAINS, LLC



                                                 By: /s/ Drake P. Bearden. Jr.
  Dated: April 14, 2021                                  Drake P. Bearden, Jr.




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                             DEMAND TO PRESERVE EVIDENCE

         1.     All defendants are hereby directed and demanded to preserve all physical and

 electronic information pertaining in any way to plaintiff's employment, to plaintiff's cause of

 action and/or prayers for relief, to any defenses to same, and pertaining to any party, including,

 but not limited to, electronic data storage, closed circuit TV footages, digital images, computer

 images, cache memory, searchable data, emails, spread sheets, employment files, memos, text

 messages and any and all online social or work related websites, entries on social networking

 sites (including, but not limited to, Facebook, twitter, MySpace, etc.), and any other information

 and/or data and/or things and/or documents which may be relevant to any claim or defense in this

 litigation.

         2.     Failure to do so will result in separate claims for spoliation of evidence and/or for

 appropriate adverse inferences.

                                               COSTELLO & MAINS, LLC


                                               By : /s/   Drake P. Bearden, Jr.
                                                          Drake P. Bearden, Jr.


                                         JURY DEMAND

         Plaintiff hereby demands a trial by jury.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden, Jr.
                                                      Drake P. Bearden, Jr.




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       CUM-L-000255-21 04/14/2021 11:39:341AMFiled
                                              Pg 805/24/21     Page
                                                   of 8 Trans ID:    20 of 22 PageID: 20
                                                                  LCV2021962774




                                  RULE 4:5-1 CERTIFICATION

                 I am licensed to practice law in New Jersey and am responsible for the captioned

                 matter.

         2.      I am aware of no other matter currently filed or pending in any court in any

                 jurisdiction which may affect the parties or matters described herein.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden. Jr.
                                                       Drake P. Bearden, Jr.


                              DESIGNATION OF TRIAL COUNSEL

         Drake P. Bearden, Jr., Esquire, of the law firm of Costello & Mains, LLC, is hereby-

  designated trial counsel.

                                               COSTELLO & MAINS, LLC



                                               By: /s/ Drake P. Bearden. Jr.
                                                      Drake P. Bearden, Jr.




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Case 1:21-cv-11665-NLH-MJS    Document
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                                                    of 1 Trans ID:    21 of 22 PageID: 21
                                                                   LCV2021962774




                         Civil Case Information Statement
  Case Details: CUMBERLAND I Civil Part Docket# L-000255-21

 Case Caption: BENNETT PHILIP VS U.S. SILICA                      Case Type: LAW AGAINST DISCRIMINATION (LAD) CASES
 COMPANY                                                          Document Type: Complaint with Jury Demand
 Case Initiation Date: 04/14/2021                                 Jury Demand: YES - 6 JURORS
 Attorney Name: DRAKE P BEARDEN JR                                Is this a professional malpractice case? NO
 Firm Name: COSTELLO & MAINS, LLC                                 Related cases pending: NO
 Address: 18000 HORIZON WAY STE 800                               If yes, list docket numbers:
 MT LAUREL NJ 080544319                                           Do you anticipate adding any parties (arising out of same
 Phone: 8567279700                                                transaction or occurrence)? NO
 Name of Party: PLAINTIFF : BENNETT, PHILIP
 Name of Defendant's Primary Insurance Company                    Are sexual abuse claims alleged by: PHILIP BENNETT? NO

 (if known): Unknown



       THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                       CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




  Do parties have a current, past, or recurrent relationship? YES
  If yes, is that relationship: Employer/Employee
  Does the statute governing this case provide for payment of fees by the losing party? YES
  Use this space to alert the court to any special case characteristics that may warrant individual
  management or accelerated disposition:



  Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



  Will an interpreter be needed? NO
           If yes, for what language:


  Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO




  I certify that confidential personal identifiers have been redacted from documents now submitted to the
  court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

  04/14/2021                                                                                     /s/ DRAKE P BEARDEN JR
  Dated                                                                                                           Signed
      Case 1:21-cv-11665-NLH-MJS     Document
                    000255-21 04/15/2021
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            COUNTY SUPERIOR
CUMBERLAND COUNTY
CUMBERLAND                  COURT
                   SUPERIOR COURT
CIVIL CASE
CIVIL       MANAGEMENT
       CASE MANAGEMENT
   W BROAD
60 W
60          ST
      BROAD ST
BRIDGETON
BRIDGETON            08302
                  NJ 08302
                  NJ
                                                 TRACK ASSIGNMENT
                                                 TRACK            NOTICE
                                                       ASSIGNMENT NOTICE
      TELEPHONE NO.
COURT TELEPHONE
COURT                      878-5050
                     (856) 878-5050
                NO. (856)
COURT HOURS
COURT             AM - 4:30
             8:30 AM
      HOURS 8:30             PM
                        4:30 PM

                                 DATE:
                                 DATE:   APRIL 14, 2021
                                               14, 2021
                                 RE:
                                 RE:     BENNETT PHILIP VS
                                         BENNETT PHILIP    VS U.S         COMPANY
                                                                   SILICA COMPANY
                                                              U.S. SILICA
                                         CUM L
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                               ASSIGNED TO:
                          BEEN ASSIGNED          TRACK 3.
                                                 TRACK 3.

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     DISCOVERY IS    450 DAYS AND RUNS
                     450 DAYS                THE FIRST
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                                  RUNS FROM                   OR 90
                                                       ANSWER OR
                                                 FIRST ANSWER       DAYS
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     SERVICE ON
FROM SERVICE
FROM             THE FIRST
             ON THE                    WHICHEVER COMES
                           DEFENDANT, WHICHEVER
                     FIRST DEFENDANT,                  FIRST.
                                                 COMES FIRST.

           PRETRIAL JUDGE
       THE PRETRIAL                IS:
                          ASSIGNED IS:
                    JUDGE ASSIGNED          HON JAMES R.
                                            HON JAMES    SWIFT
                                                      R. SWIFT

        IF YOU
        IF     HAVE ANY
           YOU HAVE                        TEAM
                                   CONTACT TEAM
                        QUESTIONS, CONTACT
                    ANY QUESTIONS,                       102
                                                         102
AT:
AT:          453-4343.
       (856) 453-4343.
       (856)

             BELIEVE THAT THE TRACK IS
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      IF                              IS INAPPROPRIATE            FILE A
                                         INAPPROPRIATE YOU MUST FILE    A
                       CAUSE WITHIN
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 CERTIFICATION                           DAYS OF
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      R.4:5A-2.
WITH R.4:5A-2.
                             ATTENTION:
                             ATTENTION:
                                                     DRAKE P.
                                               ATT: DRAKE
                                               ATT:            BEARDEN
                                                            P. BEARDEN
                                               COSTELLO && MAINS,
                                               COSTELLO            LLC
                                                            MAINS, LLC
                                                               WAY STE
                                               18000 HORIZON WAY
                                               18000                    800
                                                                   STE 800
                                               MT  LAUREL
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                                                                  NJ 08054-4319
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